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                                                                    March 10, 2022


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                    Re:      The HomeSource Corp. v. Retailer Web Services, LLC, et al., Civil
                             Action No. 1:18-cv-11970-ECR-AMD – Letter Seeking Clarification

 Dear Counsel:

 I write in response to HomeSource’s letter, dated February 25, 2022, seeking clarification
 regarding my opinion and order dated November 21, 2021 (the “November Opinion”). In the
 November Opinion, I determined that financial documents related to RWS’s competing lines of
 business were relevant and discoverable because HomeSource’s Lanham Act claim permitted it to
 seek damages in the form of disgorgement. See ECF 296 at 6-8.
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                Subsequent to the November Opinion, RWS produced 131 spreadsheets containing “revenue from
                2017 to present, including lines of business that do not compete with HomeSource,” “monthly fees
                and commissions collected from RWS’s customers,” and “profit and loss statements.” Letter from
                RWS dated March 2, 2022 at 1.1

                On February 25, 2022, HomeSource wrote a letter seeking clarification as to whether the
                November Opinion required the production of additional documents such as “client contracts,
                invoices, records of payment, bank statements or other financial documents” that reflect RWS’s
                revenues related to lines of business in which HomeSource and RWS compete.” HomeSource
                Letter dated February 25, 2022 at 2. HomeSource noted that the spreadsheets presented do not
                allow HomeSource to allocate income to different business lines, only some of which compete
                with HomeSource. Id.

                RWS alleges that the spreadsheets provided satisfy its discovery obligations. Aside from the fact
                that the spreadsheets show the company’s income and profits for the appropriate time period, RWS
                argues that additional productions would be disproportionate to the needs of the case in light of
                the Court’s recent denial of HomeSource’s motion for summary judgment, which found several
                statements submitted by HomeSource were not violations of the Lanham Act. RWS Letter dated
                March 2, 2022 at 2-3.

                As stated in the November Opinion, RWS’s financial information is relevant, and therefore
                discoverable, because under the Lanham Act, HomeSource may seek a disgorgement of profits
                RWS obtained as a result of any Lanham Act violation. ECF 269 at 5. This relevancy is not
                limited to summary financial statements, especially when the defendant has made clear that
                portions of the information within those documents are related to lines of business that do not
                compete with HomeSource. Should HomeSource prove that a Lanham Act violation occurred,
                and seek disgorgement of profits, that could easily require calculations based only on specific
                customers, or specific products and services. Underlying financial documents such as invoices
                would assist in that determination, and therefore be relevant and discoverable.

                The Court’s recent opinion on HomeSource’s motion for summary judgment does not change the
                relevancy of this information. Although the Court determined that some of the statements that
                HomeSource submitted in its papers were not Lanham Act violations as to HomeSource, it did not
                dismiss the Lanham Act claim. The summary judgment motion was only for some of the
                statements HomeSource alleges were violations. See ECF 291 at 5 n.4 (“HomeSource reserves
                the right to argue that other statements within the Defamatory Newsletter, as well as RWS’s
                correspondence with HomeSource’s customers and potential customers outside of the Defamatory
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                    At my request, HomeSource also provided a sample of five of these spreadsheets, which I have reviewed.




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                Newsletter, constitute defamation and false advertising.”). Additionally, the Court did determine
                that at least one statement made by RWS was demonstrably false, but dismissed the motion for
                summary judgment for failure to demonstrate injury as a matter of law. ECF 309 at 3.

                Proportionality also does not bar the production of additional documents. RWS has stated the
                request for additional documents is “harassing and burdensome,” but there is nothing on the record
                from which I could conclude that the request is disproportionate to the needs of the case. Relevant
                discovery can be limited if the discovery request is not “proportional to the needs of the case”
                based on considerations of “the importance of the issues at stake in the action, the amount in
                controversy, the parties’ relative access to the relevant information, the parties’ resources, the
                importance of the discovery in resolving the issues, and whether the burden or expense of the
                proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1). As stated in the
                November Opinion, financial documents are relevant to the extremely important issue of damages.
                In particular, documents that give more granular information about RWS’s income would have
                that same level of importance because it is very likely that, if HomeSource establishes liability
                under the Lanham Act, it would not be entitled to disgorge all of RWS’s profits for a particular
                time period, but those related to specific customers, types of business or a mix of both.
                Additionally, it is RWS, not HomeSource that has access to these documents. Against those factors
                I have been presented with no information about the parties’ resources or what burden or expense
                this production would entail. Therefore, I cannot hold that additional documents would be
                disproportional to the needs of the case.

                Therefore, under the broad standards for discovery, the November Opinion should be read to mean
                that RWS should produce any financial documents in its custody or control, related to its revenues
                for competing business lines for the years 2017 to the present. It is impossible for me to know
                what forms these documents will take, but RWS should be guided by the broad standards for
                discovery, and my repeated holding that information related to revenues starting in 2017 for lines
                of business in which RWS and HomeSource compete are relevant and discoverable for the
                purposes of Lanham Act damages calculations. These additional documents should be produced
                within two weeks of the date of this letter.


                                                                                              Very truly yours,

                                                                                              /s/ Stephen M. Orlofsky

                                                                                              STEPHEN M. ORLOFSKY




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